Case 1:06-cv-02860-DLC Document 743 Filed 07/01/21 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ee ee em a ee ee en ee a a ee x
UNITED STATES OF AMERICA ex rel. ANTI- : O06cv2860 (DLC)
DISCRIMINATION CENTER OF METRO NEW :
YORK, INC.,., : ORDER
Plaintiff,
-y-
WESTCHESTER COUNTY, NEW YORK,
Defendant.
ee a ee mt x

DENISE COTE, District Judge:

An Order of February 11, 2021 directed the parties to
provide an update on the status of 750 affordable affirmatively
furthering fair housing (“AFFH”) units that Westchester County
(the “County”} is obligated to create. As of February il, the
County had only completed 723 such units. Ina letter of June
1, the County stated that it had completed 751 AFFH units.
Accordingly, it is hereby

ORDERED that any response from the United States Government

or the Monitor is due July 8, 2021.

Dated: New York, New York
July 1, 2021

fowlll

DENISE COTE
United States District Judge

 
